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 In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS
                                     No. 11-680V
                               (E-Filed: March 5, 2014)

* * * * * * * * * * * * * * *
SUSAN HABCHY,                * UNPUBLISHED
                            *
            Petitioner,     *   Special Master
                            *   Nora Beth Dorsey
         v.                 *
                            *   Influenza vaccine; Rheumatoid
SECRETARY OF HEALTH AND     *   Arthritis; Decision; Stipulation.
 HUMAN SERVICES,            *
                            *
            Respondent.     *
* * * * * * * * * * * * * * *

Meredith Daniels, Conway, Homer & Chin-Caplan, Boston, MA, for Petitioner.
Lisa Watts, U.S. Department of Justice, Washington, DC, for Respondent.

                        DECISION AWARDING DAMAGES1

       On October 14, 2011, Petitioner, Susan Habchy, filed a petition seeking
compensation under the National Vaccine Injury Compensation Program (“the Vaccine
Program”). Petitioner alleged that she suffered rheumatoid arthritis that was caused-in-
fact by the influenza vaccination.2

       1
           Because this unpublished decision contains a reasoned explanation for the
undersigned’s action in this case, the undersigned intends to post this decision on the
United States Court of Federal Claims’ website, in accordance with the E-Government
Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at
44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), each party has 14
days within which to request redaction “of any information furnished by that party: (1)
that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which
would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
Otherwise, “the entire” decision will be available to the public. Id.
       2
         The National Vaccine Injury Compensation Program is set forth in Part 2 of the
National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755,
codified as amended, 42 U.S.C.A. ' 300aa-10-' 300aa-34 (West 1991 & Supp. 2002)

                                              1
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       Respondent denies that Petitioner’s vaccinations caused her injuries. Nonetheless,
both parties, while maintaining their above stated positions, agreed in a Stipulation, filed
March 5, 2014, (“Stipulation”) that the issues before them can be settled and that a
decision should be entered awarding Petitioner compensation.

      The undersigned finds said stipulation reasonable and adopts it as the decision of
the Court in awarding damages, on the terms set forth therein.

       The stipulation awards:

       A lump sum of $145,000.00, in the form of a check payable to Petitioner.
       This amount represents compensation for all damages that would be
       available under 42 U.S.C. §300aa-15(a) to which Petitioner would be
       entitled.

Stipulation ¶ 8.

       The undersigned approves the requested amounts for Petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith.3


       IT IS SO ORDERED.
                                                  s/Nora Beth Dorsey
                                                  Nora Beth Dorsey
                                                  Special Master




(Vaccine Act or the Act). All citations in this decision to individual sections of the
Vaccine Act are to 42 U.S.C.A. ' 300aa.
       3
           Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties=
joint filing of notice renouncing the right to seek review.


                                              2
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